Case 4:16-cv-00201-RGE Document 4-1 Filed 04/14/17 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

ANTHONY LEE SIMS, No. 16-cv-201
Petitioner,
CONSENT TO VOLUNTARY
Vv. DISMISSAL OF MOTION FOR

28 U.S.C. § 2255(a) RELIEF
UNITED STATES OF AMERICA,

Respondent.

 

 

I, ANTHONY LEE SIMS, hereby voluntarily dismiss my motion for 28

U.S.C. § 2255 relief pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

aubbour Sig 4

ANTHONY LEE SIMS

Dated this LO day of March, 2017.

 

 

 
